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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 SAI,
                        Plaintiff,
                v.                                        Civil Action No. 14-0403 (RDM)
 TRANSPORTATION SECURITY
 ADMINISTRATION,
                        Defendant.


                                JOINT STATUS REPORT

        On May 29, 2020, the Court issued a memorandum opinion and order granting in part and

denying in part Defendant’s renewed motion for summary judgment and denying Plaintiff’s

motion for summary judgment. Among other things, the Court denied Defendant’s motion insofar

as it failed to justify Defendant not searching certain offices for records responsive to Plaintiff’s

request for records under the Freedom of Information Act.

        In light of the Court’s opinion, Defendant intends to undertake a supplemental search. In

an effort to narrow any disputes that must be presented to the Court, Defendant has engaged

Plaintiff’s counsel in an attempt to reach an agreement regarding certain aspects of these

supplemental searches. Counsel for Defendant proposed the terms of a supplemental search to

counsel for Plaintiff on September 30, 2020, and Plaintiff’s counsel expect to respond to the

proposal in the next week.

        The parties propose to file another joint status report on or before October 30, 2020.
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Respectfully submitted,
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 Rule 83.2(g)                                 Counsel for Defendant
 Dated: September 30, 2020




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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 SAI,
                       Plaintiff,
                v.                                     Civil Action No. 14-0403 (RDM)
 TRANSPORTATION SECURITY
 ADMINISTRATION,
                       Defendant.


                                    PROPOSED ORDER

        Upon consideration of the Defendant’s unopposed motion for an extension of time, it is

hereby ORDERED that the motion is GRANTED.

        It is further ORDERED that Defendant’s reply in support of his motion for summary

judgment and opposition to Plaintiff’s motion for summary judgment shall be filed on or before

_________, and Plaintiff’s reply in support of their motion for summary judgment shall be filed

on or before ___________.

        It is so ORDERED.



 Dated:
                                                  The Honorable Randolph D. Moss
                                                  United States District Judge




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